Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 1 of 12          PageID #: 43




 MARR JONES & WANG
 A LIMITED LIABILITY LAW PARTNERSHIP

 CHRISTOPHER J. COLE                    5781-0
 Pauahi Tower
 1003 Bishop Street, Suite 1500
 Honolulu, Hawaii 96813
 Tel. No. (808) 536-4900
 Fax No. (808) 536-6700
 ccole@marrjones.com

 Counsel for Defendants Audio Visual
 Services Group, LLC DBA PSAV
 and Russell Hoag

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAI’I

  NATALIE WILSON,                            CIVIL NO. CV 21-00434 JMS-WRP

                      Plaintiff,             DEFENDANT AUDIO VISUAL
                                             SERVICES GROUP, LLC DBA
           v.                                PSAV’S ANSWER AND
                                             AFFIRMATIVE DEFENSES TO
  AUDIO VISUAL SERVICES                      COMPLAINT FILED NOVEMBER 2,
  GROUP, LLC DBA PSAV;                       2020
  RUSSELL HOAG; and DOE
  DEFENDANTS 1-25,

                      Defendants.


    DEFENDANT AUDIO VISUAL SERVICES GROUP, LLC’S ANSWER
     AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

           Defendant Audio Visual Services Group, LLC, d/b/a PSAV (“Defendant

 PSAV”), for an answer to Plaintiff Natalie Wilson’s (“Plaintiff”) Complaint filed

 in the Circuit Court of the First Circuit for the State of Hawai’i (“State Court”) on


 1377139
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 2 of 12              PageID #: 44




 November 2, 2020 (“Complaint”) and subsequently removed to this Court by

 Defendant PSAV on November 2, 2021 [D.E. 1], states as follows in response to

 the corresponding allegations of the Complaint:

    I.      Parties

    1.      Defendant PSAV lacks knowledge or information sufficient to form a

 belief about the city in which Plaintiff resided “at all times material herein” and in

 which Plaintiff currently resides and therefore the allegations are denied.

    2.      Admitted.

    3.      Admitted.

    4.      Denied.

    5.      Defendant PSAV lacks knowledge or information sufficient to form a

 belief regarding this allegation and therefore the allegation is denied.

    6.      Denied.

    7.      Defendant PSAV lacks knowledge or information sufficient to form a

 belief regarding this allegation and therefore the allegation is denied.

    8.      Defendant PSAV lacks knowledge or information sufficient to form a

 belief regarding this allegation and therefore the allegation is denied.

    II.     Statement of Facts

    9.      Admitted.

    10.     Admitted.


                                            2
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 3 of 12        PageID #: 45




    11.     Denied that Plaintiff began her employment with Defendant PSAV in

 2005; admitted that Plaintiff’s original date of hire at Defendant PSAV was

 October 21, 2004.

    12.     Denied.

    13.     Denied.

    14.     Denied.

    15.     Denied.

    16.     Admitted that Plaintiff worked for Defendant PSAV at the Turtle Bay

 Resort on Oah’u during her employment with Defendant PSAV, but the remaining

 allegations therein are denied.

    17.     Denied.

    18.     Denied.

    19.     Denied.

    20.     Denied.

    21.     Denied.

    22.     Denied.

    23.     Denied.

    24.     Admitted that Plaintiff was promoted to Director, Event Technology I

 effective November 25, 2011, but the remaining allegations therein are denied

    25.     Denied.


                                         3
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 4 of 12           PageID #: 46




    26.     Admitted that Plaintiff and her colleague Lace Flores (“Flores”) were

 both awarded Team Member of the Month for April 2018, but the remaining

 allegations therein are denied.

    27.     Denied.

    28.     Admitted that Plaintiff and Flores were both awarded Team Member of

 the Month for April 2018, but the remaining allegations therein are denied.

    29.     Admitted that Plaintiff was promoted to Director, Event Technology II

 effective January 13, 2019, but the remaining allegations therein are denied.

    30.     Denied.

    31.     Denied.

    32.     Admitted that on Monday, March 4, 2019, Plaintiff discovered

 comments that had been written on a whiteboard in Defendant PSAV’s office at

 her work location that stated, “P makes the BEST DIRTY THAIS” and “Lesbian

 Ass Omission,” but the remaining allegations therein are denied.

    33.     Defendant PSAV lacks knowledge or information sufficient to form a

 belief regarding this allegation and therefore the allegation is denied.

    34.     Denied.

    35.     Admitted that Plaintiff reported the remarks written on the white board

 to her supervisor, Area Director Adam Hallacher (“Hallacher”) and that Plaintiff




                                            4
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 5 of 12       PageID #: 47




 declined Hallacher’s request to report the incident to Human Resources, but the

 remaining allegations therein are denied.

    36.     Denied.

    37.     Admitted.

    38.     Denied.

    39.     Denied.

    40.     Denied.

    41.     Denied.

    42.     Denied.

    43.     Denied.

    44.     Denied.

    45.     Denied.

    46.     Denied.

    47.     Denied.

    48.     Admitted that Plaintiff’s employment with Defendant PSAV was

 terminated effective September 16, 2019; admitted that Defendant PSAV separated

 Plaintiff from employment after it investigated and substantiated a complaint from

 Technician Russell Hoag (“Hoag”) that Plaintiff had improperly paid Hoag and

 Technician Damon Ramsey (“Ramsey”) with gift cards, but the remaining

 allegations therein are denied.


                                             5
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 6 of 12             PageID #: 48




    49.     Admitted that Hoag reported to members of Defendant PSAV

 management that Plaintiff had paid him and Ramsey with gift cards for hours

 worked in April 2018 before they completed on-boarding with Defendant PSAV,

 but the remaining allegations therein are denied.

    50.     Admitted.

    51.     Admitted Defendant PSAV conducted a thorough investigation into

 Hoag’s complaint, but the remaining allegations therein are denied.

    52.     Denied.

    53.     Denied.

    54.     Denied.

    55.     Admitted that Defendant PSAV separated Plaintiff from employment

 after it investigated and substantiated a complaint from Hoag that Plaintiff had

 improperly paid Hoag and Ramsey with gift cards, but the remaining allegations

 therein are denied.

    56.     Admitted    that   Defendant       PSAV   separated   Plaintiff   after   an

 investigation substantiated a complaint that she had violated Defendant PSAV’s

 Code of Conduct, but the remaining allegations therein are denied.

    57.     Denied.

    58.     Denied.

    59.     Denied.


                                           6
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 7 of 12       PageID #: 49




    60.     Denied.

    61.     Denied.

    62.     Denied.

                          FIRST CLAIM FOR RELIEF:
                          VIOLATION OF H.R.S. § 378-2
                            (Against Defendant PSAV)

    63.     Defendant PSAV restates and incorporates its responses to Paragraphs

 1-62 above as if fully stated herein.

    64.     Paragraph 64 of the Complaint does not constitute an allegation against

 Defendant PSAV and therefore no response is required.

    65.     Denied.

    66.     Denied.

    67.     Denied.

    68.     Denied.

                         SECOND CLAIM FOR RELIEF:
                         VIOLATION OF H.R.S. § 378-2(2)
                            (Against Defendant PSAV)

    69.     Defendant PSAV restates and incorporates its responses to Paragraphs

 1-68 above as if fully stated herein.

    70.     Paragraph 70 of the Complaint does not constitute an allegation against

 Defendant PSAV and therefore no response is required.

    71.     Denied.


                                         7
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 8 of 12         PageID #: 50




    72.     Denied.

    73.     Denied.

    74.     Denied.

                           THIRD CAUSE OF ACTION:
                             SLANDER AND LIBEL
                             (Against all Defendants)

    75.     Defendant PSAV restates and incorporates its responses to Paragraphs

 1-74 above as if fully stated herein.

    76.     Paragraph 76 relates to Count III of Plaintiff’s Complaint, which the

 State Court dismissed and therefore no response to this paragraph is required.

    77.     Paragraph 77 relates to Count III of Plaintiff’s Complaint, which the

 State Court dismissed and therefore no response to this paragraph is required.

    78.     Paragraph 78 relates to Count III of Plaintiff’s Complaint, which the

 State Court dismissed and therefore no response to this paragraph is required.

    79.     Paragraph 79 relates to Count III of Plaintiff’s Complaint, which the

 State Court dismissed and therefore no response to this paragraph is required.

                               PUNITIVE DAMAGES

    80.     Defendant PSAV restates and incorporates its responses to Paragraphs

 1-79 above as if fully stated herein.

    81.     Denied.




                                          8
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 9 of 12          PageID #: 51




       Defendant PSAV denies that Plaintiff is entitled to any relief as requested in

 the “WHEREFORE” section following paragraph 81.

       Defendant PSAV denies all allegations in the Complaint not specifically,

 expressly, and unequivocally admitted herein.

       Defendant PSAV, still urging and relying on matters hereinabove alleged,

 further alleges in the alternative by way of affirmative defenses:

                              First Affirmative Defense

       The Complaint fails to state a claim upon which relief can be granted.

                             Second Affirmative Defense

       Defendant PSAV gives notice of and states, pursuant to Rule 8(c)(1), its

 intent to rely on the defenses of waiver, estoppel, fraud, illegality, public policy,

 payment, laches, unclean hands, license, superseding cause, last clear chance,

 preexisting condition, payment, offset, setoff, discharge in bankruptcy or failure to

 disclose in bankruptcy, subrogation, indemnity, privilege, immunity, necessity,

 consent, and all similar or related legal, statutory, equitable, or common-law

 doctrines and defenses to the claims asserted by Plaintiff in the Complaint.

                             Third Affirmative Defense

       Plaintiff’s claims are barred or should be reduced and/or limited by the

 applicable statute of limitations or repose.




                                            9
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 10 of 12           PageID #: 52




                             Fourth Affirmative Defense

        Without admitting that Plaintiff has or will suffer any damages, Defendant

  PSAV asserts the defense that Plaintiff failed to mitigate her alleged damages.

                              Fifth Affirmative Defense

        Plaintiff’s claims are barred because she failed to reasonably and timely

  exhaust her administrative or contractual remedies or her avenues of relief in

  Defendant PSAV’s policies or to include matters in her charge of discrimination or

  to obtain a right to sue from the Hawaii Civil Rights Commission. This defense

  includes, but is not limited, to the defense recognized in Faragher v. Boca Raton,

  524 U.S. 775 (1998) and Burlington Ind. v. Ellerth, 524 U.S. 742 (1998).

                              Sixth Affirmative Defense

        Defendant PSAV asserts all privileges, immunities, defenses, exceptions,

  exclusions, and limitations relating to coverage, liability, remedies, or damages set

  forth in the statutes and laws upon which Plaintiff bases her claims, or on rules and

  regulations promulgated thereunder or in legal precedent, and further including but

  not limited to caps on damages, Defendant PSAV’s good faith, safe harbor

  exclusions or exemptions, white collar or other applicable exemptions, same actor

  defense, good cause, mixed motive, bad faith by Plaintiff, bona fide occupational

  qualification, unfitness or inability to perform the work in question, fluctuating

  workweek, creditable compensation, and/or all other defenses, exclusions, credits,


                                           10
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 11 of 12          PageID #: 53




  or limitations provided by such law that operate to bar, limit, or reduce Defendant

  PSAV’s liability or Plaintiff’s entitlement to relief.

                              Seventh Affirmative Defense

        Plaintiff’s claims are barred or should be reduced by the doctrine of after-

  acquired evidence.

                               Eighth Affirmative Defense

        Plaintiff’s claims and requested relief, including punitive damages, are

  barred by applicable statutory or constitutional provisions, including but not

  limited to the Bill of Rights set forth in the federal and Hawai’i constitutions and

  all laws, rules, or constitutional provisions respecting freedom of expression, due

  process, freedom from cruel or unusual punishment, freedom of association, and

  the constitutional right of privacy.

                               Ninth Affirmative Defense

        Plaintiff’s claims are barred by Plaintiff’s own disqualifying, unreasonable,

  or wrongful conduct or pattern of behavior, including violations of law or policy or

  the rights, policies, or interests of Defendants or of third parties.

                               Tenth Affirmative Defense

        Defendant PSAV intends to rely upon all matters constituting a defense that

  may be revealed in the course of ongoing inquiry and discovery in this action.




                                             11
Case 1:21-cv-00434-LEK-WRP Document 5 Filed 11/09/21 Page 12 of 12          PageID #: 54




                                 Eleventh Affirmative Defense

         All decisions regarding Plaintiff’s employment were made for legitimate,

  non-discriminatory reasons that were wholly unrelated to any alleged protected

  characteristic of Plaintiff.

                                 Twelfth Affirmative Defense

         Defendant PSAV asserts that Plaintiff was, at all material times, an at-will

  employee of Defendant PSAV and therefore was subject to discharge at any time,

  with or without cause, so long as said action was not for an unlawful reason.


         Wherefore, Defendant PSAV prays that a judgment be entered in its favor

  and against the Plaintiff dismissing the Complaint with prejudice, awarding

  Defendant PSAV all of its costs and attorneys’ fees incurred herein, and giving

  Defendant PSAV such other relief as may be just and proper in the circumstances.

         DATED:        Honolulu, Hawaii, November 9, 2021.

                                                  /s/ Christopher J. Cole
                                                  CHRISTOPHER J. COLE

                                                  Attorney for Defendants
                                                  Audio Visual Services Group, LLC
                                                  DBA PSAV and Russell Hoag




                                             12
